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 5
                                UNITED STATES DISTRICT COURT
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 7                                   DISTRICT OF ARIZONA

 8   Robert J. Baron,                               Case No.: CV17-1118-PHX-DGC
 9
                   Plaintiff,
10
                                                    ORDER
     vs.
11

12   Mark A. Kirkorsky, P.C.,

13                 Defendant
14
            Plaintiff and Defendant have stipulated to the dismissal of this action with
15
     prejudice. Doc. 32.
16
            IT IS ORDERED that the stipulation of dismissal (Doc. 32) is granted. This
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     action is dismissed with prejudice, each party to bear its own attorney’s fees and costs.
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            Dated this 6th day of April, 2018.
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